   Case 2:20-cv-02892-SHL-tmp   Document 186    Filed 01/12/22   Page 1 of 2
                                PageID 2925


               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
________________________________________________________________
FUSION ELITE ALL STARS,          )
et al.,                          )
                                 )
     Plaintiffs,                 )
                                 )
v.                               )   No. 20-cv-2600-SHL-tmp
                                 )
VARSITY BRANDS, LLC,             )
et al.,                          )
                                 )
     Defendants.                 )

JESSICA JONES, et al.,          )
                                )
     Plaintiffs,                )
                                )
v.                              )   No. 20-cv-2892-SHL-tmp
                                )
BAIN CAPITAL PRIVATE EQUITY,    )
et al.,                         )
                                )
     Defendants.                )
________________________________________________________________

  ORDER GRANTING LEAVE TO SUBMIT AFFIDAVITS REGARDING MOTION TO
                              QUASH
________________________________________________________________

     Before the court is defendants’ Motion to Quash or Modify

Subpoena Directed to Marlene Cota and Motion for Protective Order,

filed on December 27, 2021. (ECF No. 178.) The motion seeks to

quash a subpoena issued to Marlene Cota, a former employee of

Varsity and third party to the present litigation, which seeks

allegedly    responsive    documents     Cota     possesses.      Plaintiffs

responded to the motion on January 10, 2022. (ECF No. 180.) The

circumstances in which Cota acquired the documents at issue are
   Case 2:20-cv-02892-SHL-tmp   Document 186        Filed 01/12/22     Page 2 of 2
                                PageID 2926


disputed. Given that the facts of how Cota came to possess these

documents may be relevant to the ultimate issue, the undersigned

permits the parties until January 21, 2022, to file affidavits to

clarify   the   record   regarding    how    Cota    came    to      possess   these

documents.

     IT IS SO ORDERED.



                            s/ Tu M. Pham
                            TU M. PHAM
                            Chief United States Magistrate Judge

                             January 12, 2022
                             Date




                                     - 2 -
